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     SUSANNE C. KOSKI, State Bar No. 176555
     CARMELA E. DUKE, State Bar No. 270348
2    Superior Court of California, County of San Diego
3    1100 Union Street
     San Diego, California 92101
4
     Telephone: (619) 844-2382
5
     Attorneys for Defendants The Honorable
6
     Patti C. Ratekin, Retired Commissioner of the Superior Court
7    of California, County of San Diego, The Honorable
     Lorna A. Alksne, Retired Judge of the Superior Court of
8
     California, County of San Diego, and The Honorable David
9    J. Danielsen, Retired Judge of the Superior Court of California,
10
     County of San Diego

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12                                UNITED STATES DISTRICT COURT
13                             SOUTHERN DISTRICT OF CALIFORNIA
14
     ROBERT EMERT,               )                         Case No. 23cv0230-RSH-AHG
15                               )
                                 )
16            Plaintiff,         )
                                 )                         NOTICE OF MOTION AND MOTION
17                               )                         BY COMMISSIONER PATTI C.
          v.                     )                         RATEKIN, JUDGE LORNA A.
18                               )
                                 )                         ALKSNE, AND JUDGE DAVID J.
19   LUIS VENA; ANDREA SCHUCK;   )                         DANIELSEN IN SUPPORT OF
     MATTHEW W. CORD; PATTI C.   )
20                               )                         MOTION TO DISMISS PLAINTIFF’S
     RATEKIN; DAVID S. SCHULMAN; )                         COMPLAINT WITH PREJUDICE
21   LORNA A. ALKSNE; DAVID J.   )
22
     DANIELSEN; MOORE, SCHULMAN ))                         Date: April 7, 2023
     & MOORE; ROBERT OLAGUE,     )                         Crtrm: 3B (Schwartz)
23   AND DOES 1-20 inclusive,    )                         Judge: The Honorable Robert S. Huie
                                 )
24                               )
              Defendants.        )                         PER CHAMBERS RULES, NO ORAL
25                               )
                                 )                         ARGUMENT UNLESS SEPARATELY
26                               )                         ORDERED BY THE COURT
                                 )
27                               )
                                 )
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                                           NOTICE OF MOTION AND MOTION
                                                                                                            23cv0230
1           TO ALL PARTIES AND/OR THEIR ATTORNEYS OF RECORD:
2           PLEASE TAKE NOTICE that on April 7, 2023, in Courtroom 3B of the United
3    States District Court for the Southern District of California, located at 333 West Broadway,
4    San Diego, California 92101, before the Honorable Robert S. Huie, Defendants the
5    Honorable Patti C. Ratekin, Retired Commissioner of the Superior Court of California,
6    County of San Diego (“Commissioner Ratekin”), the Honorable Lorna A. Alksne, Retired
7    Judge of the Superior Court of California, County of San Diego (“Judge Alksne”), and the
8    Honorable David J. Danielsen, Retired Judge of the Superior Court of California, County
9    of San Diego (“Judge Danielsen”)(hereinafter collectively “Judicial Defendants”), will
10   move to dismiss Plaintiff’s Complaint and each claim for relief pursuant to Federal Rules
11   of Civil Procedure ("FRCP") 12(b)(1) and 12(b)(6) on the following grounds:
12          1.      The Complaint fails to state a claim upon which relief can be granted under
13   FRCP 12(b)(6) and this Court lacks jurisdiction over the subject matter of the Complaint
14   pursuant to FRCP 12(b)(1) because the Judicial Defendants enjoy absolute judicial
15   immunity;
16          2.      The action is barred by Eleventh Amendment Immunity. Accordingly, this
17   Court lacks jurisdiction over the subject matter of the Complaint pursuant to FRCP 12(b)(1)
18   and the Complaint fails to state a claim upon which relief can be granted under FRCP
19   12(b)(6);
20          3.      Pursuant to the Younger abstention doctrine, the Complaint fails to state a
21   claim upon which relief can be granted under FRCP 12(b)(6) and this Court lacks
22   jurisdiction over the subject matter of the Complaint pursuant to FRCP 12(b)(1); and
23          4.      Pursuant to FRCP 12(b)(1) this Court lacks jurisdiction over the subject matter
24   of the Complaint as a result of the Rooker-Feldman doctrine, and Complaint fails to state a
25   claim upon which relief can be granted under 12(b)(6); and
26          5.      The Complaint fails to state a claim upon which relief can be granted under
27   FRCP 12(b)(6) because the Complaint if barred by res judicata as to Commissioner Ratekin
28   based   on the final judgments on the merits entered against Plaintiff in Robert Anthony Emert
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                                         NOTICE OF MOTION AND MOTION - 2
                                                                                                            23cv0230
1    v. Commissioner Patti C. Ratekin, United States District Court, Southern District of
2    California, Case No. 21-cv-01570-BTM-AHG.
3           The Motion to Dismiss will be based on this Notice of Motion and Motion, the
4    Memorandum of Points and Authorities, the Request for Judicial Notice with Exhibits A-
5    O, the Declaration of Carmela E. Duke, and all of which are served and filed herewith, as
6    well as the pleadings and other papers filed hereon.
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                                                    SUSANNE C. KOSKI
                                                    Superior Court of California, County of San Diego
9

10   DATED:
                                                    By: __s/ Carmela E. Duke         _________
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     March 3, 2023                                  CARMELA E. DUKE
12                                                  Attorneys for Defendants The Honorable Patti C.
13
                                                    Ratekin, Retired Commissioner of the Superior
                                                    Court of California, the Honorable Lorna A.
14                                                  Alksne, Retired Judge of the Superior Court,
15                                                  County of San Diego, and the Honorable David J.
                                                    Danielsen, Retired Judge of the Superior Court of
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                                                    California, County of San Diego
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                                         NOTICE OF MOTION AND MOTION - 3
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